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                     UNITED STATES DISTRICT COURT
           FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.2.1
                                Eastern Division

Barbara Ruiz, et al.
                                  Plaintiff,
v.                                                    Case No.: 1:17−cv−01884
                                                      Honorable Elaine E. Bucklo
Annas Cafe LLC, et al.
                                  Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Thursday, April 19, 2018:


       MINUTE entry before the Honorable Elaine E. Bucklo: A stipulation of dismissal
has been filed. This case is dismissed with prejudice, each party bearing its own attorney's
fees and costs. All pending dates before this court are stricken. Civil case terminated.
Mailed notice. (mgh, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
generated by CM/ECF, the automated docketing system used to maintain the civil and
criminal dockets of this District. If a minute order or other document is enclosed, please
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